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                       IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO


UNITED STATES OF AMERICA,
                                                       Case No. 4:13-CR-168-BLW
                Plaintiff,

       v.                                              ORDER


GUSTAVO ALFARO-GARCIA, MIRELLA
ILENANA GARCIA, and MARIA
RODRIGUEZ GARCIA,

                Defendants.


       Defendant Rodriguez-Garcia was just recently arraigned and her trial date has been

set for May 19, 2014. Her co-defendants were arraigned earlier and their trial dates were

set for April 7, 2014. To align their trial dates, the Court will set trial for all the

defendants for May 19, 2014. Under the Speedy Trial Act, 18 U.S.C. § 3161(h)(6),

excludable time exists for “a reasonable period of delay when the defendant is joined for

trial with a co-defendant as to whom the time for trial has not run and no motion for

severance has been granted.” The Court finds this to be a reasonable period of delay.

Accordingly, the Court finds that the trial date of May 19, 2014, shall apply to all

defendants.

       The Speedy Trial clocks for each defendant are somewhat different. To clarify for

purposes of Speedy Trial Act calculations, the Court will identify below the excludable


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time dates for each defendant:

       1.       For Gustavo Alfaro-Garcia, his excludable time began on August 12, 2013,

                pursuant to a series of prior Orders continuing trial for this defendant

                (docket nos. 12, 14 & 24), and continues to the new date of trial – May 19,

                2014.

       2.       For Mirella Ileana Garcia, her excludable time begins on the date of this

                Order and runs until the trial, May 19, 2014.

       3.       For Maria Rodriguez Garcia, there is no finding of excludable time at this

                point, and so her Speedy Trial clock is running from the date of her

                arraignment (March 19, 2014).

       NOW THEREFORE IT IS HEREBY ORDERED, that the prior trial date for

defendants Gustavo Alfaro-Garcia and Mirella Ilenana Garcia of April 7, 2014, is

VACATED.

       IT IS FURTHER ORDERED, that trial is set for all defendants for May 19, 2014,

at 1:30 p.m. in the Federal Courthouse in Pocatello Idaho.

       IT IS FURTHER ORDERED, that the telephone pretrial conference for all

defendants shall be on May 8, 2014, at 4:00 pm. As only logistics will be discussed, the

defendants need not appear. The Government shall set up the conference call.

       IT IS FURTHER ORDERED, that the excludable time calculations under the

Speedy Trial Act for each defendant are set forth in the body of this Order.



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                                   DATED: March 26, 2014



                                   B. LYNN WINMILL
                                   Chief Judge
                                   United States District Court




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